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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                    )
 UNITED STATES OF AMERICA,                          )
                                                    )
                                                    )
                        v.                          ) Case No. 1:21-cr-175-TJK
                                                    )
                                                    )
 ETHAN NORDEAN, et al.,                             )
                                                    )
        Defendants.                                 )
                                                    )

  DEFENDANT NORDEAN’S REPLY TO THE GOVERNMENT’S OPPOSITION TO
   DEFENDANTS’ MOTION TO DISMISS THE INDICTMENT ON ACCOUNT OF
                       BRADY VIOLATIONS

       Defendant Nordean, through his counsel, files this reply to the government’s under-seal

opposition to the Defendants’ Motion to Dismiss the Indictment and for Sanctions. ECF No.

538.

       Under seal, the government acknowledges that one month before trial—and months after

the close of discovery and nearly two years after Nordean’s arrest—it has produced hundreds of

pages of “sensitive” records that are material to the defense. Many of them have been in the

possession of the U.S. Attorney’s Office for a year or longer. Some conflict with what the

government has been representing in Court since February 2021. Owing to unusual restrictions

the government has placed on the defense’s review of that material, it may prove impossible for

the defendants to review the documents, interview relevant witnesses (perhaps eight of them or

more) and secure the evidence before trial on December 12. Though it is 21 pages, the sealed

opposition omits that the government has opposed Nordean’s effort to hold a fact-finding hearing

to determine whether the security risk purportedly justifying those restrictions has a basis in fact.

It omits that, in the Oath Keepers case, the government itself proposed such a hearing. That is,

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the government would have the Court ignore that, before making its last-minute discovery

production in violation of Court orders, the government conveniently persuaded the Court to

hobble the defense’s ability to review those sensitive materials based on certain factual claims

about the defense while simultaneously inducing the Court to prevent the defense from

disproving the claims. The sealed opposition continues to insinuate that anomalous discovery

restrictions are warranted on account of factual assertions the government seeks to avoid having

to substantiate under normal adversarial procedure. That is understandable: it is considerably

less easy to make false claims appear true in open court than in sealed nonpublic filings not

subject to fact-finding hearings. Hence the last-minute discovery drops, the government’s latest

effort to delay the case’s trial date as presumptively innocent defendants continue to remain

incarcerated pretrial for almost two years.

       The government fails to address Nordean’s motion to direct the government to identify

any ex parte applications or filings it has made in connection with the sensitive discovery, i.e.,

requests made on the Court of which the defendants and public were not provided notice.

Accordingly, the motion should be granted and the applications identified, if any were made. The

government contends that even if the sensitive material at issue contains information favorable to

the defense under Brady v. Maryland, 373 U.S. 83, 87 (1963), it has committed no Brady

violation as the information was not “suppressed”—it was merely withheld for over a year until

after plea bargaining and until one month before trial and nearly two years after the defendants’

arrest. ECF No. 538. That is wrong. The Brady violations that have occurred will continue

until the government, no less than the people it prosecutes, is held accountable to rules.

Factual and Procedural Background

       The government’s opposition references its production in August 2021 of a prior batch of



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sensitive discovery materials. The government represents that it disclosed this information to the

defense because it was “on [its] face, exculpatory,” that is, evidence tending to show that the

Proud Boys defendants here are not guilty of the conspiracy charges the government has filed

against them. ECF No. 538, p. 2 (emboldening added).

       That representation should inform the Court’s analysis of the government’s opposition to

Defendants’ Motion to Dismiss the Indictment on Account of Brady Violations. The Court will

recall that when Nordean moved to unseal the sensitive materials produced in August 2021, the

government did not take the position that they were “on their face, exculpatory.” Just as it does

with respect to the trove of sensitive materials produced on November 3, 2022, the government

argued that the August 2021 materials were not even relevant in this case. Indeed, the

government forced court-appointed counsel for the indigent defendants to file multiple motions

in order to simply use that “exculpatory” material at trial. If those materials were “exculpatory”

all along, why did the government represent and argue to the Court that they were not relevant?

And if the government was wrong in August 2021 and right now, why should the Court credit

the government’s latest arguments that the sensitive materials produced a month before trial are

not Brady materials? Moreover, why did the government not produce all the sensitive materials

in August 2021 and wait instead until a month before trial to do so? The answer is that the

government is saying and doing whatever it believes will prolong the defendants’ pretrial

incarceration, without regard to rules and Court orders. That will continue until the Court

determines that it must stop.

       In that connection, consider the government’s response to Nordean’s point that the

government has failed to produce transcripts of relevant witness interviews by the House Select

Committee, including of Jeremy Bertino, a key government witness. In a footnote, the



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government says there will be no Committee transcripts. The government “is not obliged to

acquire materials possessed or controlled by others.” ECF No. 538, p. 8 n. 5. 1 That may strike a

discordant note with the Court. It will recall that, once upon a time, there was a trial date set in

this matter in August. 6/12/22 Minute Order (“Trial shall commence on August 8, 2022, at

11:00 a.m.”). The Court will also recall that the government proposed continuing that date.

Here was the government’s explanation for why trial should be continued:

       Biggs’s and Pezzola’s Motion cites the release of transcripts from the House Select
       Committee as a basis for continuing the trial. They note that “[t]hose transcripts are
       important . . . to have and review before trial—not during or after.” The government
       concurs with this assessment. The timing of the anticipated release will prejudice the
       ability of all parties to prepare for trial . . . . While we do not know precisely when
       copies of the transcripts will be released, if they are released as currently anticipated in
       early September 2022, the parties to this trial will face unique prejudice because the jury
       for the August 8 trial will have already been sworn and jeopardy will have already
       attached.

ECF No. 404, p. 2 (emphasis added).

       In other words, the government dangled the prospect of Committee transcripts to the

defendants in order to persuade them that they could be waiving Brady rights by insisting on

their right to a speedy trial in August. Now, however, the government “is not obliged to acquire

materials possessed or controlled by” Congress (even though it served multiple letter demands

on Congress to do just that). No. 538, p. 8 n. 5. After all, the government need only dangle the

latest untimely produced batch of sensitive information—materials that have been in its

possession for over a year—in order to continue forcing the defendants to choose between their

due process and speedy trial rights.

       The government’s sealed opposition gives no hint of what Brady information now in its



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  The Court will notice that the government does not directly deny that relevant Committee
transcripts are in its “possession or control.” ECF No. 538, p. 8 n. 5. The government must
disclose all its communications with the Committee regarding the transcripts.
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possession will drop just before trial in, say, August 2023 should the government prove

successful in continuing the December trial date, without sanction, for a second time using the

exact same device.

Argument

       The government does not spend much time arguing that its November 3 production of

sensitive materials does not constitute Brady information. That may be because whether the

government characterizes discovery material as Brady has been shown to depend on what it

needs from the Court at any given moment. At Time 1, sensitive information is “not relevant.”

At Time 2, it is “on [its] face, exculpatory.” ECF No. 538, p. 2.

       Instead, the government focuses on the argument that it has not “suppressed” the

November 3 production because defendants have “suffered no prejudice from the delay.” ECF

No. 538, p. 10 (citing United States v. Driscoll, 984 F.3d 103, 109-10 (D.C. Cir. 2021) (“A new

trial will rarely be warranted based on a Brady claim where the defendant obtains the

information in time to use it at the trial.”)). The government quotes Judge Bates as follows: “‘In

this Circuit, the government must disclose material in sufficient time for the defendant to use the

favorable material effectively in the preparation and presentation of [his or her] case.’” ECF No.

538, p. 10 (quoting United States v. Moore, 867 F. Supp. 2d 150, 151-52 (D.D.C. 2012)).

       It is far from clear why the government believes it can credibly claim that its November 3

production comes close to satisfying that standard. It is not just that the government has

produced hundreds of pages of records, which have been in the government’s possession for a

year or longer, one month before trial. Nor is it just that this production comes on top of the

largest discovery universe in any criminal case in the Department of Justice’s history. The

government’s Brady violations lie in the facts that:



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        (1) the defense must not just review in a month records that the government could have

produced a year ago but it must interview relevant witnesses and conduct their own investigation

into the materials and witnesses;

        (2) the government has positively interfered with that already complex process by

imposing restrictions on the defense that make completion of the process virtually impossible

before trial; and,

        (3) not only are the factual justifications offered by the government for the discovery

restrictions false, but the government has urged the Court to reject the defense’s uncontroversial

attempts to hold a fact-finding hearing to show that they are false, even as the government takes

exactly the opposite position before another judge of the same court.

        Of course, these facts do not show disclosure “in sufficient time for the defendant to use

the favorable material effectively in the preparation and presentation of [his or her] case.”

Moore, 867 F. Supp. 2d at 151-52. They show a calculated effort by the government to prevent

the defense from using the Brady material at trial and/or to improperly force the defense to

choose between their speedy trial rights and their due process rights. The government does not

seriously claim, nor could it, that the defendants could conceivably review, investigate and

secure the newly disclosed evidence before trial. It does not explain why the materials were not

produced a year ago.

        In fact, the government says that it “learned of [some of the new materials] during a

comprehensive review of relevant databases during the month of October.” ECF No. 538, p. 20.

This was part of its effort “to ensure that it had fully searched for and reviewed” evidence

relevant to the case. Id. The government says it will only later “provide [this information] to the

defense if relevant.” Id. It does not even estimate when that production will occur. The



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government does not explain how that production will be “in sufficient time for the defendant to

use the favorable material effectively in the preparation and presentation of [his or her] case.”

Moore, 867 F. Supp. 2d at 151-52. It does not explain why it could not have searched the

“relevant databases” before October 2022 in a case that is nearly two years old. Even if that

failure was in good faith, a due process violation occurs “irrespective of the good faith or bad

faith of the prosecution.” Brady, 373 U.S. at 87.

       But indeed, there is indicia of a lack of good faith in any case. The government does not

respond to questions from the defense about the sensitive materials, such as why they are

redacted even when made available at government offices; it represents to the Court that it would

be “grossly inappropriate” for the Court to hold a simple fact-finding hearing as to the necessity

of its unprecedented discovery restrictions—and then takes exactly the opposite position in front

of another judge in the same court; it represents to the Court that sensitive materials are “not

relevant” and then later states that they are actually “on their face, exculpatory”; on multiple

occasions it has provided to the defense incorrect information that hinders their ability to

investigate the sensitive information such as producing misspelled names and fax numbers rather

than phone numbers.

       The government’s untimely production violates the discovery production deadline; the

Brady rules; Rule 162; Local Criminal Rule 5.1; the Due Process Protections Act; and the Court’s

Brady Order. To continue the trial without more is not to sanction but to reward the government.




2
 The government argues that the sensitive materials were exempt from its discovery obligations
under Rule 16(a)(2). ECF No. 538, p. 11. That is false because (1) the records at issue were not
made by a government agent or attorney for the government in connection with investigating or
prosecuting “the case,” i.e., United States v. Nordean, 21-cr-175, and (2) it is not just “internal
government documents” Nordean seeks but the underlying information merely reproduced in
government documents.
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The indictment should be dismissed or government witnesses should be precluded from

testifying at trial.


Dated: November 13, 2022                     Respectfully submitted,


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                                      Certificate of Service
        I hereby certify that on the 13th day of November, 2022, I filed the foregoing motion with

the Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF)

to the following CM/ECF user(s):

                 Connor Mulroe
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        And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


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